Case 1:09-md-02084-TWT Document 1904-1 Filed 11/15/19 Page 1 of 6




                 EXHIBIT A
          Case
            Case
               1:09-md-02084-TWT
                 2:13-cv-01747-JLR Document
                                   Document1904-1
                                            196 Filed
                                                   Filed
                                                       11/22/13
                                                         11/15/19Page
                                                                   Page
                                                                      1 of
                                                                        2 of
                                                                           5 6



 1

 2
                           UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF WASHINGTON
 3
                                    AT SEATTLE
 4
        JAMES B. TURNER, et al.,
 5
                            Plaintiffs,
 6
              v.                                    C13-1747 TSZ
 7
        LOCKHEED SHIPBUILDING                       MINUTE ORDER
 8      COMPANY, et al.,

 9                          Defendants.

10        The following Minute Order is made by direction of the Court, the Honorable
     Thomas S. Zilly, United States District Judge:
11
        (1)   The motions in limine brought by defendant Lockheed Shipbuilding
12 Company (“Lockheed”), docket no. 111, are GRANTED in part, DENIED in part,
   STRICKEN in part, and DEFERRED in part as follows:
13
              (1)    Moody’s Industrial Manual - GRANTED
14         Plaintiffs make no showing that Moody’s Industrial Manual is relevant, is more
           probative than prejudicial, and satisfies an exception to the evidentiary rule
15         prohibiting hearsay. Lockheed does not dispute that it was formerly known as
           Puget Sound Bridge & Dry Dock Co., as indicated in Moody’s Industrial Manual
16         (June 1965), Ex. A to André Decl. (docket no. 113). Lockheed also does not
           dispute that it is a wholly-owned subsidiary of Lockheed Martin Corporation. See
17         Corporate Disclosure Statement (docket no. 4). Plaintiffs may introduce such
           facts via means other than Moody’s Industrial Manual, including a stipulation of
18         the parties. The probative value of Moody’s Industrial Manual is substantially
           outweighed by the danger of unfair prejudice. Fed. R. Evid. 403.
19
                   (2)   Knowledge of Risk Associated with Direct Exposure - DEFERRED
20
                   (3)   General Procedure No. 45 - GRANTED
21
           Pursuant to Federal Rule of Evidence 407, General Procedure No. 45 is excluded
22         as evidence of a subsequent remedial measure. Plaintiffs may offer such evidence

23

     MINUTE ORDER - 1
          Case
            Case
               1:09-md-02084-TWT
                 2:13-cv-01747-JLR Document
                                   Document1904-1
                                            196 Filed
                                                   Filed
                                                       11/22/13
                                                         11/15/19Page
                                                                   Page
                                                                      2 of
                                                                        3 of
                                                                           5 6



 1        only if Lockheed “opens the door,” for example, by disputing the feasibility of
          precautionary procedures, and only after seeking an explicit ruling from the Court
 2        outside the presence of the jury.

 3               (4)    Walsh-Healey Act - GRANTED in part and DEFERRED in part
                        to trial
 4
          No witness shall testify and no attorney shall argue that the Walsh-Healey Act,
 5        Pub. L. No. 74-846, 49 Stat. 2036 (1936), codified as 41 U.S.C. § 35 et seq.,
          which was superseded in part by the Occupational Safety and Health Act, see 29
 6        U.S.C. § 653(b)(2), and which was repealed and restated by Pub. L. No. 111-350,
          124 Stat. 3677 (2011), codified in part as 41 U.S.C. §§ 6501-6502, created any
 7        duties on the part of Lockheed that ran to plaintiffs. See Arnold v. Saberhagen
          Holdings, Inc., 157 Wn. App. 649, 671, 240 P.3d 162 (2010). Whether evidence
 8        concerning the Walsh-Healey Act is admissible as to the issues of what Lockheed
          knew about workplace safety and when it knew such information is deferred to
 9        trial.

                 (5)    Post-1969 Exposure - DENIED
10
          Although plaintiffs’ Amended Complaint, docket no. 82, alleges a claim against
11        Lockheed associated with secondary exposure to asbestos only for the years 1950
          through 1969, plaintiff James B. Turner testified that he lived with his parents at
12        various times between 1969 and 1981, and Lockheed had notice that plaintiff was
          potentially exposed to asbestos brought home on his father’s clothing after 1969.
13        Plaintiffs’ operative pleading is hereby deemed amended to present this evidence.
          See Fed. R. Civ. P. 15(b).
14
                 (6)    Rule 30(b)(6) Deposition - DEFERRED to trial
15
          The Court will rule on any objections relating to the Rule 30(b)(6) deposition
16        testimony if and when they are raised during trial.

17               (7)    Financial Status of Lockheed - GRANTED

          This motion is unopposed. No witness or attorney shall mention any party’s
18
          financial status.
19               (8)    “Sending a Message” Arguments - GRANTED
20        This motion is unopposed. Counsel shall refrain from making arguments that
          appeal to passion or prejudice.
21

22

23

     MINUTE ORDER - 2
          Case
            Case
               1:09-md-02084-TWT
                 2:13-cv-01747-JLR Document
                                   Document1904-1
                                            196 Filed
                                                   Filed
                                                       11/22/13
                                                         11/15/19Page
                                                                   Page
                                                                      3 of
                                                                        4 of
                                                                           5 6



 1               (9)    Witness’s Asbestos Injury or Lawsuit - GRANTED

 2        Plaintiffs shall not offer evidence or otherwise mention that a witness, other than
          plaintiff James B. Turner, has a pending lawsuit or previously litigated about
 3        asbestos-related injuries or that a witness, other than plaintiff James B. Turner,
          reached a settlement with or obtained a judgment against any entity in connection
 4        with asbestos-related injuries. Plaintiffs shall not elicit from a witness, other than
          plaintiff James B. Turner, testimony concerning the cause of such witness’s illness
 5        or injury, if any.

 6               (10)   Asbestos Awards or Standards - GRANTED in part and
                        DEFERRED in part to trial
 7
          No witness or attorney shall mention settlements, verdicts, or judgments in other
          cases involving asbestos-related injuries; no witness or attorney shall mention the
 8
          costs incurred to litigate this case or the manner in which counsel will or might be
          compensated. The Court will rule on any objections relating to specific arguments
 9
          or testimony concerning the status of asbestos and the standards relating thereto
          when they are raised during trial.
10
                 (11)   Asbestos Disease Among Lockheed Workers - DEFERRED
11
                 (12)   Characterizing Lockheed as “Asbestos Company” - GRANTED in
12                      part and DENIED in part

13        Lockheed is not a manufacturer of asbestos, and counsel shall refrain from using
          language that would imply otherwise. Except as granted, the motion is denied,
14        and plaintiffs may present admissible evidence and argument that James B. Turner
          is a victim of asbestos exposure.
15
                 (13)   Disparaging Remarks - GRANTED
16
          This motion is unopposed. Counsel shall refrain from using derogatory terms and
          labels.
17
                 (14)   Health Conditions of Family Members - GRANTED in part and
18                      DENIED in part
19        No witness or attorney shall mention the health condition of plaintiffs’ children,
          Jonathan and Taylor Turner-Lipson, who are not parties to this action, and who
20        have made no claim for loss of consortium. The motion is denied as to plaintiff
          Joanne Lipson’s health condition, which is relevant to her claim for loss of
21        consortium.

22

23

     MINUTE ORDER - 3
          Case
            Case
               1:09-md-02084-TWT
                 2:13-cv-01747-JLR Document
                                   Document1904-1
                                            196 Filed
                                                   Filed
                                                       11/22/13
                                                         11/15/19Page
                                                                   Page
                                                                      4 of
                                                                        5 of
                                                                           5 6



 1               (15)   Newspaper or Magazine Articles - DEFERRED to trial

 2        Newspaper or magazine articles will not be admitted at trial unless they are
          relevant, more probative than prejudicial, and satisfy an exception to the rule
 3        prohibiting hearsay. The Court will rule on any objections to specific offers of
          newspaper or magazine articles when they are raised during trial.
 4
                 (16)   “Missing” Witness - GRANTED
 5
          This motion is unopposed. No comment shall be made about the failure to call a
          witness without advance permission of the Court, which shall be sought outside
 6
          the presence of the jury.
 7               (17)   Exclude Witnesses From Courtroom - GRANTED in part,
                        DENIED in part, and DEFERRED in part
 8
          All non-party witnesses are excluded from the courtroom except when they are
 9        testifying, except that (i) plaintiffs’ children, Taylor and Jonathan Turner-Lipson,
          may attend all proceedings, and (ii) each defendant may designate one corporate
10        representative who may attend all proceedings. Fed. R. Evid. 615. The Court
          defers ruling on whether and to what extent expert witnesses will be permitted to
11        attend proceedings.

12               (18)   Advance Notice of Witnesses - GRANTED as follows

13        At the end of each trial day, counsel shall exchange a list of witnesses they
          anticipate calling on the next trial day.
14
                 (19)   Extra-Pleading Matters - GRANTED
15        This motion is unopposed. No new claims, defenses, or legal theories shall be
          introduced at trial.
16
                 (20)   “Ban” on Asbestos - DEFERRED
17
                 (21)   Cumulative Asbestos Exposure - STRICKEN as moot
18
          Lockheed’s motion to exclude testimony that “every contribution to the lifetime
19        cumulative asbestos dose is causative” is moot because plaintiffs agree that their
          expert, Carl Andrew Brodkin, M.D., will not present such testimony. The Court
20        will instruct the jury on the appropriate standard of causation under Washington
          law. See Lockwood v. AC&S, Inc., 109 Wn.2d 235, 744 P.2d 605 (1987).
21
                 (22)   Testimony of Carl A. Brodkin, M.D. - DEFERRED
22

23

     MINUTE ORDER - 4
          Case
            Case
               1:09-md-02084-TWT
                 2:13-cv-01747-JLR Document
                                   Document1904-1
                                            196 Filed
                                                   Filed
                                                       11/22/13
                                                         11/15/19Page
                                                                   Page
                                                                      5 of
                                                                        6 of
                                                                           5 6



 1                (23)   Scope of Expert Testimony - GRANTED

 2         An expert’s trial testimony shall be limited to the testimony provided during
           such expert’s deposition and/or to such expert’s report, if any, disclosed prior to
 3         November 7, 2013.

 4                (24)   Testimony of William Longo, Ph.D. - DENIED

           Lockheed’s motion to preclude Dr. Longo from offering any opinions specific to
 5
           Lockheed or its predecessors is denied. Lockheed’s motion does not otherwise
           address the scope of Dr. Longo’s testimony.
 6
                  (25)   Mare Island Naval Shipyard - DEFERRED
 7
                  (26)   Conditions at Different Shipyards - STRICKEN as moot
 8
           The parties agree that a proper foundation is necessary before expert opinions are
 9         presented relating to the similarities of different shipyards.

10                (27)   Plaintiff’s Father’s Work at Lockheed - DEFERRED

                  (28)   Videos Using Tyndall Lighting - DEFERRED
11
                  (29)   Testimony of Susan Raterman - DEFERRED
12
          (2)    Counsel shall be prepared to address the deferred motions in limine, namely
13 Nos. 2, 11, 17, 20, 22, 25, and 27-29, at the Pretrial Conference scheduled for November
   26, 2013, at 10:00 a.m. Counsel shall also be prepared to address Lockheed’s pending
14 motion for summary judgment, docket no. 76, and plaintiffs’ motion for partial summary
   judgment, docket no. 94.
15
          (3)    The Clerk is directed to send a copy of this Minute Order to all counsel of
16 record.

17         Dated this 22nd day of November, 2013.

18                                                    William M. McCool
                                                      Clerk
19
                                                      s/Claudia Hawney
20                                                    Deputy Clerk

21

22

23

     MINUTE ORDER - 5
